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 Chapter 7 Trustee
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Neil Berger (NB-3599)

UNITED STATES BANKRUPTCY COURT                                 ABANDONMENT DATE: 10/23/08
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
                    In the Matter                              :   Chapter 7 Case
                                                               :   No. 08-12666-[MG]
                          -of-                                 :
                                                               :
            PACE PRODUCT SOLUTIONS, INC., :
                                                               :
                                            Debtor.            :
                                                               :
-------------------------------------------------------------- X

                    NOTICE OF ABANDONMENT OF PROPERTY


 TO: ALL PARTIES ON THE ANNEXED SERVICE LIST

              PLEASE TAKE NOTICE that pursuant to section 554(a) of Title 11 of the

United States Code (the “Bankruptcy Code”), Rule 6007 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 6007-1 of the Local Rules for

the Southern District of New York (the “Local Rules”), Albert Togut, the Chapter 7

Trustee (the “Trustee”) of the estate of Pace Product Solutions, Inc. (the “Debtor”),

intends to abandon all of the estate’s right, title and interest in all of the Debtor’s

interest in the proceeds of the following automobiles (collectively, the “Automobiles”)

located on the Debtor’s premises or in junk yards:
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Year            Make              Model            NYS              VIN              Liens            Estimated
                                                   License #                                          Kelly Blue
                                                                                                      Book
                                                                                                      Value
1992            Chevrolet         AstroEXT         EFY-5487         1GNDM1           None             $5002
                Suburban1                                           9Z4NB217
                                                                    325
1994            Dodge/            RAM 350          DVP-2029         2B5WB35          Orix             $1,425
                Chrysler                                            Y8RK1342         Financial
                Utility3                                            15
Unknown         3 GMC             Unknown          Unknown          Unknown          Unknown          $500
                Trucks,
                Ford
                Crown
                Victoria &
                General
                Truck4


 The Trustee has determined that the Automobiles are of inconsequential value and

 otherwise burdensome to this estate.

                   PLEASE TAKE FURTHER NOTICE that based upon the foregoing, the

 Trustee deems it prudent to abandon the Automobiles and any proceeds thereof

 pursuant to Bankruptcy Code section 554(c) and Bankruptcy Rule 6007.

                   PLEASE TAKE FURTHER NOTICE that unless a creditor or party-in

 interest files a written objection and a request for a hearing with the Clerk of the United

 States Bankruptcy Court for the Southern District of New York in compliance with,

 among other things, General Order M-182 which provides for the means of electronic

 filing of objections with the Court, which may be accessed at the official web site

 1
   According to Daley-Hodkin LLC (“DH”), an auctioneer retained by Summa Capital Corporation (“Summa”) the
 Debtor’s secured lender, this vehicle is currently located on the Debtor’s property. The Debtor referred to this
 vehicle on its Schedule B as a 1994 Ford Van. However, the Debtor has confirmed in writing that the description of
 this vehicle on its Schedule B is incorrect, and the vehicle is actually the 1992 Chevrolet Suburban.
 2
   The estimated values listed on this chart are based on the representations made by the Debtor on its Schedule B and
 an independent search on the Kelly Blue Book website conducted by the Trustee’s counsel.
 3
   According to DH, this vehicle is currently located on Debtor’s property. The Debtor referred to this vehicle on its
 Schedule B as a 1999 Ford Van. However, the Debtor has confirmed in writing that the description of this vehicle
 on its Schedule B is incorrect, and the vehicle is actually the 1994 Dodge / Chrysler Utility.
 4
   According to Debtor’s Schedule B, all of these vehicles are not operating, do not have license plates and are
 located in junk yards.

                                                          2
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maintained by the Bankruptcy Court at www.nysb.uscourts.gov, with copies served

upon, so as to be received by: (i) the undersigned attorneys for the Trustee; and (ii)

Dianna G. Adams, Esq., the United States Trustee, 33 Whitehall Street, 21st Floor, New

York, New York 10004-1408, Attn: Andy Velez-Rivera, Esq., within (15) days from the

date of this Notice, the Trustee will be deemed to have abandoned the Automobiles on

the 16th day from the date of this Notice.

              PLEASE TAKE FURTHER NOTICE that all inquiries regarding this

Notice should be directed to the attorneys for the Trustee, Togut, Segal & Segal LLP,

One Penn Plaza, New York, New York 10119, Attn: Neil Berger, Esq.

DATED: New York, New York
       October 7, 2008
                                             TOGUT, SEGAL & SEGAL LLP,
                                             Attorneys for Albert Togut,
                                              the Chapter 7 Trustee
                                             By:

                                             /s/ Neil Berger
                                             NEIL BERGER (NB-3599)
                                             A Member of the Firm
                                             One Penn Plaza, Suite 3335
                                             New York, New York 10119
                                             (212) 594-5000




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